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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS


 ADAM MOOMAW and REGAN MOOMAW,
 individually and on behalf of all others
 similarly situated,

                Plaintiffs,
                                                       Case No. 3:23-cv-01321-DWD
        v.

 GEOSNAPSHOT PTY LTD, an Australian
 proprietary limited company, and

 GEOSNAPSHOT, INC., a Delaware
 corporation,

                Defendants.


      NOTICE OF DISMISSAL WITHOUT PREJUDICE OF GEOSNAPSHOT, INC.

        Plaintiffs Adam Moomaw and Regan Moomaw hereby give notice under Federal Rule of

 Civil Procedure 41(a)(1)(A) that all claims asserted in their Complaint against GeoSnapShot,

 Inc., are dismissed without prejudice. This dismissal does not affect Plaintiffs’ claims against

 GeoSnapShot Pty Ltd.
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 Dated: June 7, 2024                                   Respectfully Submitted,

                                                       THE DRISCOLL FIRM, P.C.

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                                                       Attorneys for Plaintiffs


                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on June 7, 2024, the foregoing document was
 electronically filed with the Clerk of Court and will be served by operation of the Court’s
 CM/ECF system upon all registered parties.

                                                           /s/ Matthew J. Limoli




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